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STATE OF SOUTH DAKOTA )                                  IN CIRCUIT COURT
                       SS
COUNTY OF PENNINGTON )                                   SEVENTH JUDICIAL CIRCUIT

 DAVID C. SANFORD,                                        51CIV21-

          Plaintiff,

 V.                                                       SUMMONS

 SILVERSCRIPT INSURANCE
 COMPANY,a Tennessee corporation,

          Defendant.


      THE STATE OF SOUTH DAKOTA TO THE ABOVE-NAMED DEFENDANT:

       You are hereby summoned and required to answer the Complaint of the Plaintiff
in the above-entitled action, which is herewith served upon you and will be filed in the
office of the Clerk of the above entitled Court in the City of Rapid City, County of
Pennington, State of South Dakota, and to serve a copy of your Answer to the said
Complaint on the subscribers at their office, whose address is 200 E. 10th Street, Sioux
Falls, South Dakota 57104, within thirty(30) days after the service of this Summons
upon you, exclusive of the day of service; and in case of your failure to answer the said
Complaint within that time,judgment by default may be rendered against you as
requested in the Complaint.
                                                  CAD WELL SANFORD DEIBERT
                                                  & GMRY LLP

      Dated: September 10, 2021
                                             By
                                                   Steven W. Sanford
                                                   200 E. 10th Street, Suite 200
                                                   Sioux Falls, South Dakota 57104
                                                  (605)336-0828
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                                                   Attorneysfor Plaintiff
